                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE MIDDLE DISTRICT OF TENNESSEE

  In Re:
  Martha Revis                                                       BK:     16-02415-KL1-13
  3185 Tristan Dr, Franklin, TN 37064
  xxx-xx-7672
  Debtor

               NOTICE OF FILING AMENDED PROPOSED CHAPTER 13 PLAN

       Comes the debtors through counsel and would give notice of amendment to the debtor's
proposed Chapter 13 plan filed in connection with this bankruptcy case. The amended plan is
attached hereto and incorporated by reference.

        All notices issued in the case applicable to the original plan, including but not limited to the
date of the proposed hearing on objections to confirmation of the proposed plan, shall be applicable
to the amended plan. If an objection to the proposed Chapter 13 plan is timely filed, a hearing is
set for 8:00 a.m. at the Customs House 701 Broadway, Room 100, Nashville, TN 37203.

        Debtors' counsel will request that hearing be rescheduled for the next available hearing date
at 8:00 a.m. in Customs House 701 Broadway, Room 100, Nashville, TN 37203 Objections to the
amended plan by any creditor must be filed with the clerk of the U.S. Bankruptcy Court.

        Respectfully submitted June 13, 2016.

                                                /s/ J. ROBERT HARLAN
                                                J. Robert Harlan - BPR No. 010466
                                                Harlan, Slocum & Quillen
                                                Attorney for the Debtor
                                                39 Public Square
                                                PO Box 949
                                                Columbia, TN 38402-0949
                                                Phone - 931/381-0660
                                                Fax - 931/381-7627
                                                bob@robertharlan.com

                                  CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that I have mailed a true and exact copy of the foregoing
to Martha Revis, 3185 Tristan Dr, Franklin, TN 37064 all creditors, to parties requesting notices, to the
Chapter 13 Trustee Henry E. Hildebrand, III and to the U.S. Trustee's Office, by electronic means
if available or by placing the same in the U.S. Mail, postage pre-paid, June 13, 2016.
                                                     /s/ J. ROBERT HARLAN
                                                J. ROBERT HARLAN - BPR No. 010466
                                                Harlan, Slocum & Quillen

____40____ number of copies mailed


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United States Bankruptcy Court for the               MIDDLE DISTRICT OF TENNESSEE                               Check if this is an
                                                            [Bankruptcy district]                               amended plan
Case number:

Official Form 113
Chapter 13 Plan
Part 1: Notices

To Debtors:      This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                 indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do
                 not comply with local rules and judicial rulings may not be confirmable.

                 In the following notice to creditors and statement regarding your income status, you must check each box that applies.

To Creditors:    Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                 You should read this plan carefully and discuss it with your attorney, if you have one in this bankruptcy case. If you do not have an
                 attorney, you may wish to consult one.

                 If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                 confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court.
                 The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                 The following matters may be of particular importance to you. Boxes must be checked by debtor(s) if applicable.

                    The plan seeks to limit the amount of a secured claim, as set out in Part 3, Section 3.2, which may result in a partial
                    payment or no payment at all to the secured creditor.

                    The plan requests the avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest as set out in
                    Part 3, Section 3.4.


                    The plan sets out nonstandard provisions in Part 9.

Income status of debtor(s), as stated on Official Form 122-C1

    Check one.
                    The current monthly income of the debtor(s) is less than the applicable median income specified in 11 U.S.C. § 1325(b)(4)(A).

                    The current monthly income of the debtor(s) is not less than the applicable median income specified in 11 U.S.C. §
                    1325(b)(4)(A).

Part 2:    Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments to the trustee as follows:
$4,038.00 Monthly for 60 months

   If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to
   creditors specified in Parts 3 through 6 of this plan.

2.2 Regular payments to the trustee will be made from future earnings in the following manner:
    Check all that apply.
                    Debtor(s) will make payments pursuant to a payroll deduction order.

                    Debtor(s) will make payments directly to the trustee.

                    Other (specify method of payment):                                                                          .

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.

                    Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                    return and will turn over to the trustee all income tax refunds received during the plan term.
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                   Debtor(s) will treat income refunds as follows:



2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $245,118.60.

Part 3:    Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.
    Check one.
                  The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                  required by the applicable contract. These payments will be disbursed either by the trustee or directly by the debtor, as specified
                  below. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at
                  the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim or modification of a proof of claim
                  filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current
                  installment payment and arrearage. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph,
                  then, unless otherwise ordered by the court, all payments under this paragraph as to that collateral will cease and all secured
                  claims based on that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the
                  trustee rather than by the debtor.
                                                                                                                                          Estimated
                                                        Current installment          Amount of         Interest rate Monthly plan total
                                                        payment                      arrearage, if     on arrearage payment on payments by
 Name of Creditor Collateral                            (including escrow)           any               (if applicable) arrearage          trustee
                      1226 A Lakeview Dr
                      Franklin, TN 37064
                      Williamson County
                      Micro Dermabrashion,
                      Soltion Steamer, Towel
                      Warmer, Wet Table,
                      Vitamin Ultrasound
                      Equipment, Computer,
                      Towels, Skin Care
                      Products, Shelving,
 Community            Desk , Couch, Chairs,
 West Bank            Pedicure Chair, Man                            $1,672.95         $1,672.95            0.00%e               PR        $102,049.95
                                                        Disbursed by:
                                                           x Trustee
                                                           x Debtor(s)
                      3185 Tristan Dr
                      Franklin, TN 37064
                      Williamson County
                      Home and Lot Located
                      at 3185 Tristan Dr,
                      Frankin, TN as
                      described in that certain
                      Deed as recorded in
                      Book 4262 at Page
                      294-308 of the
                      Williamson County
 Ditech Financial     Public Registry. Debtors
 LLC                  dispute                                        $1,507.99         $7,539.95            0.00%e               PR         $98,019.35
                                                        Disbursed by:
                                                           x Trustee
                                                           x Debtor(s)




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                                                                                                                                   Estimated
                                                          Current installment          Amount of        Interest rate Monthly plan total
                                                          payment                      arrearage, if    on arrearage payment on payments by
Name of Creditor       Collateral                         (including escrow)           any              (if applicable) arrearage  trustee
                       3185 Tristan Dr
                       Franklin, TN 37064
                       Williamson County
                       Home and Lot Located
                       at 3185 Tristan Dr,
                       Frankin, TN as
                       described in that certain
                       Deed as recorded in
                       Book 4262 at Page
                       294-308 of the
                       Williamson County
The Bank of            Public Registry. Debtors
Nashville              dispute                                            $176.65           $1,000.00        0.00%e             PR        $11,599.00
                                                          Disbursed by:
                                                            x Trustee
                                                            x Debtor(s)
Insert additional claims as needed.

3.2 Request for valuation of security and claim modification. Check one.
                   The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                   The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                   claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                   secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
                   listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
                   listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                   The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                   of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                   treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                   creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                   The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien until the
                   earlier of:

                   (a) payment of the underlying debt determined under nonbankruptcy law, or

                   (b) discharge under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor. See Bankruptcy Rule
                   3015.

Name of          Estimated       Collateral               Value of             Amount of        Amount of Interest Monthly              Estimated
creditor         amount of                                collateral           claims senior to secured   rate     payment to           total of
                 creditor's                                                    creditor's claim claim              creditor             monthly
                 total claim                                                                                                            payments
Santander
Consumer         $14,000.0       2008 Toyota                                                      $12,075      3.50
USA              0               Highlander            $12,075.00                      $0.00           .00       %        $219.67         $13,179.87

Insert additional claims as needed.

3.3 Secured claims excluded from 11 U.S.C. § 506.

   Check one.
                   The claims listed below were either:

                   (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                   acquired for the personal use of the debtor(s), or

                   (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

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                     These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                     the trustee or directly by the debtor, as specified below. Unless otherwise ordered by the court, the claim amount stated on a
                     proof of claim or modification of a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over
                     any contrary amount listed below. The final column includes only payments disbursed by the trustee rather than by the debtor.

Name of Creditor        Collateral                         Amount of claim              Interest rate Monthly play payment           Estimated total
                                                                                                                                     payments by
                                                                                                                                     trustee
                        3185 Tristan Dr Franklin,
                        TN 37064 Williamson
                        County
                        Home and Lot Located at
                        3185 Tristan Dr, Frankin,
                        TN as described in that
Cypress                 certain Deed as recorded
Financial               in Book 4262 at Page
Recoveries              294-308 of the Williamson
Avoid Judgment          County Public Registry.
Lien 506                Debtors dispute                    $1,161.00                        0.00%                           0.00                    0.00
                                                                                                       Disbursed by:
                                                                                                          Trustee
                                                                                                          Debtor(s)
                        1226 A Lakeview Dr
                        Franklin, TN 37064
                        Williamson County
                        commercial retail space at
                        1226 A Lakeview Dr,
                        Franklin, TN as described
Internal                in that certain Deed as
Revenue                 recorded in Book 4235 at
Service                 Page 838-858 of the
Avoid Tax Lien          Williamson County Public
Pursuant to 506         Registry. Debto                    $44,397.00                       0.00%                         $0.00                   $0.00
                                                                                                       Disbursed by:
                                                                                                          Trustee
                                                                                                          Debtor(s)
                        3185 Tristan Dr Franklin,
                        TN 37064 Williamson
                        County
                        Home and Lot Located at
                        3185 Tristan Dr, Frankin,
                        TN as described in that
                        certain Deed as recorded
Portfolio               in Book 4262 at Page
Recovery Assoc          294-308 of the Williamson
Avoid Judgment          County Public Registry.
Lien 506                Debtors dispute                    $2,532.00                        0.00%                           0.00                    0.00
                                                                                                       Disbursed by:
                                                                                                          Trustee
                                                                                                          Debtor(s)

Insert additional claims as needed.

3.4 Lien avoidance

   Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.

   Check one
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
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Part 4:    Treatment of Fees and Priority Claims

4.1 General

   Trustee’s fees and all allowed priority claims other than those treated in § 4.6 will be paid in full without interest.

4.2 Trustee's fees

    Trustee’s fees are estimated to be 5.00% of plan payments; and during the plan term, they are estimated to total $0.00
4.3 Attorney's fees

   The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,000.00.

4.4 Priority claims other than attorney's fees and those treated in § 4.5.
    Check one.
                   None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

   Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

Part 5:    Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

   Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
   providing the largest payment will be effective. Check all that apply.
           The sum of $
              1 % of the total amount of these claims.
           The funds remaining after disbursements have been made to all other creditors provided for in this plan.



If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 41,911.80           .
Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Interest on allowed nonpriority unsecured claims not separately classified. Check one.

                 None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
5.3 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                     None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

5.4 Other separately classified nonpriority unsecured claims. Check one.

                     None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

Part 6:    Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
    unexpired leases are rejected. Check one.

                     None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

Part 7:    Order of Distribution of Trustee Payments

7.1 The trustee will make the monthly payments required in Parts 3 through 6 in the following order, with payments other than those listed
    to be made in the order determined by the trustee:
      Class 1 Filing Fee
      Class 2 Notice Fee
      Class 3 Attoney Fee, Cont Mortgage Payments
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     Class 4 Secured Creditors
     Class 5 Mortgage Arrears
     Class 6 General Unsecured Creditors
     Class 7 1305 Post Petition Claims

Part 8:    Vesting of Property of the Estate

8.1 Property of the estate will vest in the debtor(s) upon

   Check the appliable box:
         plan confirmation.
         entry of discharge.
         other:

Part 9: Nonstandard Plan Provisions
Under Bankruptcy Rule 3015(c),nonstandard provisions are required to be set forth below.

Post Petition claims allowed pursuant to 11 U.S.C. § 1305 shall be paid in full but subordinate to the payment of unsecured
claims as provided in paragraph 3 of the confirmation order.

Part 4.3 - Additional Provisions -Provisions related to payment of priority administrative claim for fees payable to the attorney
for the debtor(s).


The attorney for the Debtor(s) shall be paid $4,000.00 as follows $200.00per month. Debtor’s Counsel moves the Court for an Order
requiring disbursal of funds on hand with the Chapter 13 Trustee on the date of first disbursal after confirmation of the plan to pay the
attorney fee claim to the extent those funds exceed the amount needed to pay ongoing domestic support obligations, adequate
protection payments on secured claims, the filing fee, and trustee allowed commissions, and the first monthly payment to other
creditors due under the plan . Debtor’s Counsel requests a one time payment at confirmation of the plan equal to the amount of the
allowed fee claim.

Part 3.1 - Provisions Relating to Claims Secured by Real Property Treated Pursuant to § 1322(b)(5).

Post-confirmation payments listed below shall be maintained consistent with the underlying agreement, commencing with the first
payment due after confirmation. If the Trustee disburses these payments, any payment may be adjusted by the Trustee as necessary to
reflect changes in interest rates, escrow payments or other matters. The Trustee shall notify the Debtor(s) and the attorney for the
Debtor(s) of any change at least seven days prior to effecting such change.

(a) Confirmation of this Plan imposes upon any claimholder treated under § 3.1 and, holding as collateral, the residence of the
Debtor(s), the obligation to: (i) Apply the payments received from the Trustee on pre-confirmation arrearages only to such arrearages.
For purposes of this plan, the “pre-confirmation” arrears shall include all sums designated as pre-petition arrears in the allowed Proof of
Claim plus any post-petition pre-confirmation payments due under the underlying mortgage debt not specified in the allowed Proof of
Claim. (ii) Deem the mortgage obligation as current at confirmation such that future payments, if made pursuant to the plan, shall not be
subject to late fees, penalties or other charges. (iii) Not less than 21 days prior to the effective date of any change in monthly mortgage
payments, notify the Trustee, the Debtor(s) and the attorney for the Debtor(s) in writing of any changes in the interest rate for any
non-fixed rate or any adjustable rate mortgage and the effective date of any such adjustment or any change in the property taxes,
property insurance premiums or other fees or charges that would either increase or reduce the escrow portion, if any, of the monthly
mortgage payments and the effective date of any such adjustment. (iv) Notify the Trustee, the Debtor(s) and attorney for the Debtor(s),
in writing, of any protective advances or other charges incurred by the claimholder, pursuant to the mortgage agreement, within 60 days
of making such protective advance or other charge .

Confirmation of this Plan shall impose upon any claimholder listed in Part 3.1 the obligation to:

          •        Apply the payments received from the trustee on pre-confirmation arrearages only to such arrearages. For
                   purposes of this Plan, the "pre-confirmation" arrearage shall include all sums included in the allowed
                   proof of claim plus any post-petition pre-confirmation payments due under the underlying mortgage
                   obligation not specified in the allowed proof of claim. Monthly ongoing mortgage payments shall be paid
                   by the trustee commencing with the later of the month of confirmation or the month in which a proof of
                   claim itemizing the arrears is filed by such claimholder.
          •        Treat the mortgage obligation as current at confirmation such that future payments, if made pursuant to

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the plan, shall not be subject to late fees, penalties or other charges.
                 The trustee may adjust the postconfirmation regular payments noted in Part 3.1 and payments to the plan
                 in Part 2 in accordance with a Notice of Mortgage Payment Change filed under Bankruptcy Rule 3002.1
                 upon filing a notice of such adjustment with the court and delivering a copy to the debtor, the debtor's
                 attorney, the creditor, and the U.S. Trustee.

The trustee is authorized to pay any postpetition fees, expenses, and charges, notice of which is filed pursuant to
Bankruptcy Rule 3002.1 and as to which no objection is raised, at the same disbursement level as the arrearage claim
noted in Part 3.1.
Part 10: Signatures:

X   /s/ J. Robert Harlan                                            Date   April 4, 2016
    J. Robert Harlan
Signature of Attorney for Debtor(s)

X    /s/ Martha Revis                                               Date   April 4, 2016
     Martha Revis

X                                                                   Date

Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)




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Exhibit: Total Amount of Estimated Trustee Payments

The trustee will make the following estimated payments on allowed claims in the order set forth in Section 7.1:


a.     Maintenance and cure payments on secured claims (Part 3, Section 3.1 total):                                                                                             $211,668.30

b.     Modified secured claims (Part 3, Section 3.2 total):                                                                                                                      $13,179.87

c.     Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total):                                                                                                   $3,693.00

d.     Judicial liens or security interests partially avoided (Part 3, Section 3.4 total):                                                                                               $0.00

e.     Fees and priority claims (Part 4 total):                                                                                                                                  $16,256.20

f.     Nonpriority unsecured claims (Part 5, Section 5.1 total):                                                                                                                        $11.23

g.     Interest on allowed unsecured claims (Part 5, Section 5.2 total)                                                                                                                  $0.00

h.     Maintenance and cure payments on unsecured claims (Part 5, Section 5.3 total)                                                                                                     $0.00

i.     Separately classified unsecured claims (Part 5, Section 5.4 total)                                                                                                                $0.00

j.     Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                           +                              $0.00



Total of lines a through j....................................................................................................................................                  $244,808.60




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                          MARTHA REVIS
                          3185 TRISTAN DR
                          FRANKLIN TN 37064

                          J. ROBERT HARLAN
                          HARLAN, SLOCUM & QUILLEN
                          39 PUBLIC SQUARE
                          PO BOX 949
                          COLUMBIA, TN 38402-0949

                          AMERICAN EXPRESS
                          ATTN: CUSTOMER SERVICE
                          PO BOX 297812
                          FORT LAUDERDALE FL 33329-7812

                          ASSET ACCEPTANCE
                          PO BOX 2036
                          WARREN MI 48090

                          BANK OF AMERICA
                          INQUIRIES
                          PO BOX 15026
                          WILMINGTON DE 19850-5026

                          CAPITAL MANAGEMENT SERVICES
                          698 1/2 SOUTH OGDEN ST.
                          BUFFALO NY 14206

                          CENTENNIAL PEDIATRICS
                          310 25TH AVE. N. STE. 201
                          NASHVILLE TN 37203

                          CHASE
                          ACCOUNT INQUIRIES
                          PO BOX 15298
                          WILMINGTON DE 19850-5298

                          CHEADLE LAW
                          2404 CRESTMOOR ROAD
                          NASHVILLE TN 37215

                          COMMUNITY WEST BANK
                          445 PINE AVE
                          GOLETA CA 93117

                          COOL SPRINGS FAMILY MEDICINE
                          4091 MALLORY LANE STE 118
                          FRANKLIN TN 37064

                          CYPRESS FINANCIAL RECOVERIES
                          C/O THOMPSON & BOOTH
                          PO BOX 11463
                          KNOXVILLE TN 37939



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                      DITECH FINANCIAL LLC
                      PO BOX 6172
                      BOVEY MN 55709

                      FANNIE MAE
                      3900 WISCONSIN AVE NW
                      WASHINGTON DC 20016-2892

                      FIA CARD SERVICES
                      BILLING INQUIRIES
                      PO BOX 15026
                      WILMINGTON DE 19850-5026

                      HEALTHCARE RECEIVABLES GROUP
                      P O BOX 10168
                      KNOXVILLE TN 37939-0168

                      INTERNAL REVENUE SERVICE
                      CORRESPONDENCE-BR
                      PO BOX 7346
                      PHILADELPHIA PA 19101-7346

                      MACY'S
                      BILLING INQUIRIES
                      PO BOX 8066
                      MASON OH 45040

                      MIDLAND CREDIT MANAGEMENT
                      ATTN: CORRESPONDENCE
                      8875 AERO DRIVE, STE 200
                      SAN DIEGO CA 92123-8131

                      NAB
                      PO BOX 198988
                      NASHVILLE TN 37219

                      NATHAN L. HORTON, ESQ.
                      PORTFOLIO RECOVERY ASSOCIATES
                      140 CORPORATE BLVD
                      NORFOLK VA 23502

                      NORTHLAND GROUP
                      PO BOX 390846
                      MAIL CODE CPV1
                      EDINA MN 55439

                      ONE HUNDRED OAKS IMAGING
                      719 THOMPSON LANE STE 23300
                      BRENTWOOD TN 37024

                      PATHGROUP
                      5301 VIRGINIA WAY, STE 300
                      BRENTWOOD TN 37027



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                      PORTFOLIO RECOVERY
                      PO BOX 12914
                      NORFOLK VA 23541

                      PORTFOLIO RECOVERY ASSOC
                      CORRESPONDENCE
                      140 CORPORATE BLVD
                      NORFOLK VA 23502

                      SANTANDER CONSUMER USA
                      ATTN: BANKRUPTCY DEPT.
                      PO BOX 560284
                      DALLAS TX 75356-0284

                      SMYTHE & HUFF
                      144 2ND AVE N STE 333
                      NASHVILLE TN 37201

                      SYNCHRONY BANK/CARE CREDIT
                      ATTN: BANKRUPTCY DEPARTMENT
                      PO BOX 965061
                      ORLANDO FL 32896-5061

                      SYNCHRONY BANK/JCPENNEY
                      ATTN: BANKRUPTCY DEPARTMENT
                      PO BOX 965061
                      ORLANDO FL 32896-5061

                      SYNOVUS BANK
                      2204 LAKESHORE DRIVE, SUITE 325
                      BIRMINGHAM AL 35209

                      THE BANK OF NASHVILLE
                      401 CHURCH ST
                      NASHVILLE TN 37219

                      THE HOME DEPOT
                      PO BOX 790328
                      SAINT LOUIS MO 63179

                      US BANK
                      ATTN: CARDMEMBER SERVICE
                      PO BOX 6335
                      FARGO ND 58125-6335

                      VANDERBILT MEDICAL GROUP
                      DEPT AT 40211
                      ATLANTA GA 31192-0211

                      WELLS FARGO FINANCIAL CARDS
                      INQUIRIES
                      PO BOX 5943
                      SIOUX FALLS SD 57117-5943



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                      WILLIAMSON COUNTY CIRCUIT & GENERAL SESS
                      135 FOURTH AVENUE SOUTH
                      FRANKLIN TN 37064

                      WILLIAMSON COUNTY GENERAL SESSIONS COURT
                      PO BOX 1666
                      FRANKLIN TN 37064-1666

                      WILLIAMSON MEDICAL CENTER
                      4321 CAROTHERS PARKWAY
                      FRANKLIN TN 37067

                      WILSON & ASSOCIATES
                      CREEKSIDE CROSSING III
                      8 CADILLAC DRIVE, STE 120
                      BRENTWOOD TN 37027




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